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                 UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT
                       DOCKETING STATEMENT--CIVIL/AGENCY CASES

        Directions: Counsel must make a docketing statement (civil/agency) filed entry in CM/ECF
        within 14 days of docketing of the appeal, or within the due date set by the clerk=s docketing notice,
        whichever is later. File with the entry the (1) docketing statement form with any extended answers
        and (2) any transcript order form. Parties proceeding pro se are not required to file a docketing
        statement. Opposing counsel who finds a docketing statement inaccurate or incomplete may file any
        objections within 10 days of service of the docketing statement using the ECF event-docketing
        statement objection/correction filed.

         Appeal No. & Caption             23-2038 Honeywell Int'l Inc., et al. v. OPTO Elecs. Co., Ltd.

         Originating No. & Caption 3:21-cv-00506 Honeywell Int'l Inc., et al. v. OPTO Elecs. Co.
         Originating Court/Agency         U.S. District Court for the Western District of North Carolina


         Jurisdiction (answer any that apply)
         Statute establishing jurisdiction in Court of Appeals             28 U.S.C. § 1291

         Time allowed for filing in Court of Appeals                      30 days

         Date of entry of order or judgment appealed                       09/27/2023

         Date notice of appeal or petition for review filed                10/04/2023

         If cross appeal, date first appeal filed                          08/14/2023

         Date of filing any post-judgment motion                           08/03/2023; 08/17/2023

         Date order entered disposing of any post-judgment motion          09/27/2023

         Date of filing any motion to extend appeal period
         Time for filing appeal extended to
         Is appeal from final judgment or order?                           F Yes               F No
         If appeal is not from final judgment, why is order appealable?




         Settlement (The docketing statement is used by the circuit mediator in pre-briefing review and
         mediation conducted under Local Rule 33. Counsel may make a confidential request for mediation by
         calling the Office of the Circuit Mediator at .)

         Is settlement being discussed?                       F Yes                     F No



        1/28/2020 SCC
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         Transcript (transcript order must be attached if transcript is needed and not yet on file)
         Is transcript needed for this appeal?                 F Yes                      F No
         Has transcript been filed in district court?          F Yes                      F No
         Is transcript order attached?                         F Yes                      F No


         Case Handling Requirements (answer any that apply)
         Case number of any prior appeal in same case
         Case number of any pending appeal in same case            23-1850

         Identification of any case pending in this Court or
         Supreme Court raising similar issue
                                                                   If abeyance or consolidation is warranted,
                                                                   counsel must file an appropriate motion.
         Is expedited disposition necessary?                       F Yes                    F No
                                                                   If yes, motion to expedite must be filed.
         Is oral argument necessary?                               F Yes                    F No
         Does case involve question of first impression?           F Yes                    F No
         Does appeal challenge constitutionality of federal        F Yes                    F No
         or state statute in case to which federal or
                                                                   If yes, notice re: challenge to
         state government is not a party
                                                                   constitutionality of law must be filed.


         Nature of Case (Nature of case and disposition below. Attach additional page if necessary.)
         Honeywell International, Inc., Hand Held Products, Inc., and Metrologic Instruments, Inc.
         (together, "Honeywell") filed a breach of contract action against OPTO Electronics Co. Ltd for
         breach of a License and Settlement Agreement (the "Agreement") that settled prior patent
         infringement disputes between the parties regarding OPTO’s barcode scanning products.

         Honeywell claimed OPTO breached Section 5.1 and Section 4.3 of the Agreement by selling
         laser-equipped barcode scanning products that could read certain barcodes without paying
         Honeywell a patent royalty. OPTO’s full and timely payment of royalties on the sales of its
         camera-equipped barcode scanning products was not in dispute. Honeywell however
         maintained the laser-equipped products OPTO sold were royalty-bearing "2D Barcode
         Products" under the Agreement, while OPTO maintained those same products were
         non-royalty-bearing "1D Barcode Products" subject to the Agreement's covenant not to sue.
         OPTO also maintained that Honeywell's royalty demands based solely on non-patented
         features of the products constitute impermissible patent misuse, which was tried during a
         bench trial. OPTO lost that trial and timely appealed.
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         Issues (Non-binding statement of issues on appeal. Attach additional page if necessary)

         1. Did OPTO breach in light of the Second Amendment to the Agreement pre-dating the
         present dispute, wherein Honeywell expressly agreed that it "understands" that OPTO's
         represented sales numbers constituted the entirety of its “2D Barcode Product” sales, while
         fully informed that the sales numbers included only sales of OPTO’s camera-equipped
         scanning products and did not include sales of OPTO's laser-equipped scanning products?

         2. Is Honeywell estopped from taking inconsistent positions when, prior to the present dispute,
         it took the position that OPTO's laser-equipped scanning products are non-royalty bearing 1D
         Barcode Products when signing the Second Amendment and settling the parties’ European
         litigations but then later took the position that those same products are royalty-bearing 2D
         Barcode Products after obtaining the benefit of the European settlement?

         3. Was OPTO unilaterally mistaken about the application of the Agreement's definition of "2D
         Barcode Products" to OPTO's laser-equipped scanning products and did Honeywell know of
         that mistaken understanding and remain silent?




         Adverse Parties (List adverse parties to this appeal and their attorneys; provide party=s address if the
         party is not represented by counsel. Attach additional page if necessary.)
         Adverse Party: Honeywell International Inc.; Hand     Adverse Party: Honeywell International Inc.; Hand

         Held Products, Inc.; Metrologic Instruments, Inc.     Held Products, Inc.; Metrologic Instruments, Inc.
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         Adverse Parties (continued)
         Adverse Party: Honeywell International Inc.; Hand     Adverse Party: Honeywell International Inc.; Hand
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         Appellant (Attach additional page if necessary.)

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         Appellant (continued)
         Name: OPTO Electronics Co., Ltd.                    Name: OPTO Electronics Co., Ltd.


         Attorney: Zachary L. McCamey                        Attorney: Jessica L. O'Brien
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                    /s/ Brian D. Schmalzbach
         Signature: ____________________________________                            10/24/2023
                                                                         Date: ___________________

         Counsel for: _____________________________________________________________
                      OPTO Electronics Co., Ltd.


         Certificate of Service (required for parties served outside CM/ECF): I certify that this
         document was served on ____________ by [ ] personal delivery; [ ] mail; [ ] third-party
         commercial carrier; or [ ] email (with written consent) on the following persons at the
         addresses or email addresses shown:




         Signature:                                         Date:
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        Nature of Case, continued

        The Court granted summary judgment for OPTO on Honeywell's Section
        5.1 claim because Honeywell failed to comply with the Section 5.1's audit
        requirements. The Section 4.3 claim was tried to a jury, which returned a
        verdict in Honeywell's favor. OPTO timely appealed.

        Issues, continued

        4. Did the district court err in concluding that Honeywell's actions do not
        constitute per se patent misuse?

        5. Did the district court err in failing to interpret the Agreement’s three-
        sentence definition of “2D Barcode Products” as a whole while instead
        concluding that the first sentence of the Agreement’s definition alone
        unambiguously defines the scope of royalty-bearing “2D Barcode
        Products” where a material term in the first sentence is not defined
        anywhere in the Agreement and the district court conducted a jury trial
        and admitted extrinsic evidence to determine the meaning of the undefined
        term?

        Adverse Parties, continued

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